                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                        ___________________

                                            No: 20-2890
                                        ___________________

                                       United States of America

                                                   Plaintiff - Appellee

                                                     v.

                                            Robert J. Thomas, Jr.

                                   Defendant - Appellant
______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Missouri - Kansas City
                                  (4:18-cr-00272-GAF-1)
______________________________________________________________________________

                                               JUDGMENT


Before BENTON, MELLOY, and KELLY, Circuit Judges.


        This appeal from the United States District Court was submitted on the record of the

district court and briefs of the parties.

        After consideration, it is hereby ordered and adjudged that the appeal is dismissed in

accordance with the opinion of this Court.

                                                          March 16, 2021




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans




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